October 12, 2007

Mr. Stacy R. Obenhaus
Gardere Wynne Sewell LLP
3000 Thanksgiving Tower
1601 Elm Street
Dallas, TX 75201-4761

Ms. Suzanne M. Schwarz
Law Offices of Suzanne M. Schwarz
P.O. Box 532044
Harlingen, TX 78553

Mr. Benigno Martinez III
Martinez Y Barrera, L.L.P.
1201 E Van Buren
Brownsville, TX 78520
Ms. Jane M. N. Webre
Scott Douglass &amp; McConnico, L.L.P.
600 Congress Ave., Suite 1500
Austin, TX 78701-2589


Honorable Benjamin Euresti
Judge, 107th District Court
974 E. Harrison
Brownsville, TX 78520

RE:   Case Number:  03-1080
      Court of Appeals Number:  13-03-00598-CV
      Trial Court Number:  2002-08-3404-A

Style:      IN RE  U.S. HOME CORPORATION, LENNAR CORPORATION, DAVID GARCIA,
      FABIAN DIAZ AND SHELDON MOORE

Dear Counsel:

      Today the Supreme Court of Texas delivered  the  enclosed  per  curiam
opinion in the above-referenced cause.


                                       Sincerely,
                                       [pic]
                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Ms. Cathy Wilborn  |
|   |Ms. Aurora De La   |
|   |Garza              |

